            15-23680-rdd                        Doc 1          Filed 11/22/15 Entered 11/22/15 17:05:54                                           Main Document
                                                                            Pg 1 of 28
D!6!)Qhhkekcn!Hqto!!6*!)23018*!

                    UNITED STATES BANKRUPTCY COURT
                                                                      !                                                                          INVOLUNTARY
                                        Uqwvjgtp Fkuvtkev qh Pgy [qtm
                                      aaaaaaaaaa!Fkuvtkev!qh!aaaaaaaaaa!                                                                           PETITION
 KP!TG!)Pcog!qh!Fgdvqt!!Kh!Kpfkxkfwcn<!!Ncuv-!Hktuv-!Okffng*!                                               CNN!QVJGT!PCOGU!wugf!d{!fgdvqt!kp!vjg!ncuv!9!{gctu!!
 !                                                                                                           )Kpenwfg!octtkgf-!ockfgp-!cpf!vtcfg!pcogu/*!
  Zohar CDO 2003-1, Limited                                                                                  !
                                                                                                             !
                                                                                                             !
 Ncuv!hqwt!fkikvu!qh!Uqekcn.Ugewtkv{!qt!qvjgt!Kpfkxkfwcnu!Vcz.K/F/!Pq/0Eqorngvg!GKP!                        !
 )Kh!oqtg!vjcp!qpg-!uvcvg!cnn/*<!
 !XX-XXXXXXX
 UVTGGV!CFFTGUU!QH!FGDVQT!)Pq/!cpf!uvtggv-!ekv{-!uvcvg-!cpf!|kr!eqfg*!                                       OCKNKPI!CFFTGUU!QH!FGDVQT!)Kh!fkhhgtgpv!htqo!uvtggv!cfftguu*!
 !c/o Maples Finance Limited                                                                                 !
 !P.O. Box 1093GT                                                                                            !
 !Queensgate House                                                                                           !
 !                                                                                                           !
  South Church Street,George Town
 !                                                                                                           !
 !Grand Cayman, Cayman Islands                                                                               !
 EQWPV[!QH!TGUKFGPEG!QT!RTKPEKRCN!RNCEG!QH!DWUKPGUU!!!!!!!!                                                  !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                                                                                                      !      !
                                                                                              \KR!EQFG!                                                                      !!!!!!!\KR!EQFG!
 !                                                                                                           !
 !                                                                                                           !
 !
 NQECVKQP!QH!RTKPEKRCN!CUUGVU!QH!DWUKPGUU!FGDVQT!!)Kh!fkhhgtgpv!htqo!rtgxkqwun{!nkuvgf!cfftguugu*!
 !
 EJCRVGT!QH!DCPMTWRVE[!EQFG!WPFGT!YJKEJ!RGVKVKQP!KU!HKNGF!
 !
 !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!#!!!Ejcrvgt!8!!!!!!!!!!#!!!Ejcrvgt!22!

                                                           INFORMATION REGARDING DEBTOR (Check applicable boxes)

 Nature of Debts                                                                              Type of Debtor                                          Nature of Business!
 )Ejgem!one!dqz/*!                                                                         )Hqto!qh!Qticpk|cvkqp*!                                     )Ejgem!one!dqz/*!
 !                                                                        "!!!Kpfkxkfwcn!)Kpenwfgu!Lqkpv!Fgdvqt*!                   "!!!Jgcnvj!Ectg!Dwukpguu!
 Rgvkvkqpgtu!dgnkgxg<!                                                                                                              "!!!Ukping!Cuugv!Tgcn!Guvcvg!cu!fghkpgf!kp!!
 !
                                                                          "!!!Eqtrqtcvkqp!)Kpenwfgu!NNE!cpf!NNR*!
                                                                                                                                    !!!!!22!W/U/E/!©!212)62*)D*!
 "!!!!Fgdvu!ctg!rtkoctkn{!eqpuwogt!fgdvu!                                 "!!!Rctvpgtujkr!!                                         "!!!Tckntqcf!
 "!!!!Fgdvu!ctg!rtkoctkn{!dwukpguu!fgdvu!                                 "!!!Qvjgt!)Kh!fgdvqt!ku!pqv!qpg!qh!vjg!cdqxg!gpvkvkgu-!   "!!!Uvqemdtqmgt!
                                                                          !!!!!!ejgem!vjku!dqz!cpf!uvcvg!v{rg!qh!gpvkv{!dgnqy/*!    "!!!Eqooqfkv{!Dtqmgt!
 !
                                                                          !                                                         "!!!Engctkpi!Dcpm!
 !
                                                                          aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!                "!!!Qvjgt!

 !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!VENUE                                         !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!FILING FEE!)Ejgem!qpg!dqz*!
                                                                                               !
 "!!Fgdvqt!jcu!dggp!fqokekngf!qt!jcu!jcf!c!tgukfgpeg-!rtkpekrcn!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!! "!!!Hwnn!Hknkpi!Hgg!cvvcejgf!
 !!!!!rnceg!qh!dwukpguu-!qt!rtkpekrcn!cuugvu!kp!vjg!Fkuvtkev!hqt!291!                          !
 !!!!!fc{u!koogfkcvgn{!rtgegfkpi!vjg!fcvg!qh!vjku!rgvkvkqp!qt!hqt!!                            "!!!Rgvkvkqpgt!ku!c!ejknf!uwrrqtv!etgfkvqt!qt!kvu!tgrtgugpvcvkxg-!cpf!vjg!hqto!!
 !!!!!c!nqpigt!rctv!qh!uwej!291!fc{u!vjcp!kp!cp{!qvjgt!Fkuvtkev/!                              !!!!!!urgekhkgf!kp!©!415)i*!qh!vjg!Dcpmtwrve{!Tghqto!Cev!qh!2;;5!ku!cvvcejgf/!
 !                                                                                             ![If a child support creditor or its representative is a petitioner, and if the
 "!!C!dcpmtwrve{!ecug!eqpegtpkpi!fgdvqtu!chhknkcvg-!igpgtcn!                                  petitioner files the form specified in § 304(g) of the Bankruptcy Reform Act of
 !!!!!rctvpgt!qt!rctvpgtujkr!ku!rgpfkpi!kp!vjku!Fkuvtkev/!                                     1994, no fee is required.]
                                                                                               !
                                    PENDING BANKRUPTCY CASE FILED BY OR AGAINST ANY PARTNER
                        OR AFFILIATE OF THIS DEBTOR )Tgrqtv!kphqtocvkqp!hqt!cp{!cffkvkqpcn!ecugu!qp!cvvcejgf!ujggvu/*!
 Pcog!qh!Fgdvqt!                                               Ecug!Pwodgt!                                                                Fcvg!
 !
 Tgncvkqpujkr!                                                 Fkuvtkev!                                                                   Lwfig!
 !                                                                                                                                         !
            !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!ALLEGATIONS                                                                                  !
                                                           (Check applicable boxes)                                                                  EQWTV!WUG!QPN[!

 2/!!!!!"!!Rgvkvkqpgt!)u*!ctg!gnkikdng!vq!hkng!vjku!rgvkvkqp!rwtuwcpv!vq!22!W/U/E/!©!414!)d*/!
 3/!!!!!"!!Vjg!fgdvqt!ku!c!rgtuqp!cickpuv!yjqo!cp!qtfgt!hqt!tgnkgh!oc{!dg!gpvgtgf!wpfgt!vkvng!22!qh!vjg!Wpkvgf!
 !!!!!!!!!!!!Uvcvgu!Eqfg/!
 4/c/!!"!!Vjg!fgdvqt!ku!igpgtcnn{!pqv!rc{kpi!uwej!fgdvqtu!fgdvu!cu!vjg{!dgeqog!fwg-!wpnguu!uwej!fgdvu!ctg! !!!!!!!!!
 !!!!!!!!!!!!vjg!uwdlgev!qh!c!dqpc!hkfg!fkurwvg!cu!vq!nkcdknkv{!qt!coqwpv=!
              !!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!qt!
 !!!d/!!"!!Ykvjkp!231!fc{u!rtgegfkpi!vjg!hknkpi!qh!vjku!rgvkvkqp-!c!ewuvqfkcp-!qvjgt!vjcp!c!!vtwuvgg!tgegkxgt-!qt!
 !!!!!!!!!!!!!cigpv!crrqkpvgf!qt!cwvjqtk|gf!vq!vcmg!ejctig!qh!nguu!vjcp!uwduvcpvkcnn{!cnn!qh!vjg!rtqrgtv{!qh!vjg!!
 !!!!!!!!!!!!!fgdvqt!hqt!vjg!rwtrqug!qh!gphqtekpi!c!nkgp!cickpuv!uwej!rtqrgtv{-!ycu!crrqkpvgf!qt!vqqm!rquuguukqp/!
              !!!!!!!!!!
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 D!6!)Qhhkekcn!Hqto!!6*!)23018*!!!Rcig!3                                                 Name of Debtor ____________________!!!!!!!
                                                                                                         Zohar CDO 2003-1, Limited

                                                                                                      Case No.____________________________

                                                                         TRANSFER OF CLAIM
#!!Ejgem!vjku!dqz!kh!vjgtg!jcu!dggp!c!vtcpuhgt!qh!cp{!encko!cickpuv!vjg!fgdvqt!d{!qt!vq!cp{!rgvkvkqpgt/!!Cvvcej!cnn!fqewogpvu!vjcv!!
!!!!!gxkfgpeg!vjg!vtcpuhgt!cpf!cp{!uvcvgogpvu!vjcv!ctg!tgswktgf!wpfgt!Dcpmtwrve{!Twng!2114)c*/!
                                                                             REQUEST FOR RELIEF
Rgvkvkqpgt)u*!tgswguv!vjcv!cp!qtfgt!hqt!tgnkgh!dg!gpvgtgf!cickpuv!vjg!fgdvqt!wpfgt!vjg!ejcrvgt!qh!vkvng!22-!Wpkvgf!Uvcvgu!Eqfg-!urgekhkgf!kp!vjku!
rgvkvkqp/!!Kh!cp{!rgvkvkqpgt!ku!c!hqtgkip!tgrtgugpvcvkxg!crrqkpvgf!kp!c!hqtgkip!rtqeggfkpi-!c!egtvkhkgf!eqr{!qh!vjg!qtfgt!qh!vjg!eqwtv!itcpvkpi!
tgeqipkvkqp!ku!cvvcejgf/!
!
Rgvkvkqpgt)u*!fgenctg!wpfgt!rgpcnv{!qh!rgtlwt{!vjcv!vjg!hqtgiqkpi!ku!vtwg!cpf! !
eqttgev!ceeqtfkpi!vq!vjg!dguv!qh!vjgkt!mpqyngfig-!kphqtocvkqp-!cpf!dgnkgh/!                    !
!                                                                                              !
    /s/ Lynn Tilton
zaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa                                       /s/ Jay M. Goffman
                                                                                               zaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!             11/22/2015
Ukipcvwtg!qh!Rgvkvkqpgt!qt!Tgrtgugpvcvkxg!)Uvcvg!vkvng*!                                       Ukipcvwtg!qh!Cvvqtpg{!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!Fcvg!
! Patriarch Partners XV, LLC                                         11/22/2015                !Skadden, Arps, Slate, Meagher & Flom LLP
Pcog!qh!Rgvkvkqpgt!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!Fcvg!Ukipgf!              Pcog!qh!Cvvqtpg{!Hkto!)Kh!cp{*!
!                                                                                                Four Times Square, New York, NY 10036
                                                                                               aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
Pcog!'!Ocknkpi!                                          Lynn Tilton                           Cfftguu!
Cfftguu!qh!Kpfkxkfwcn!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!aaaaaaaaaaaaaaaaaaaaaa!                  ! (212) 735-3000
Ukipkpi!kp!Tgrtgugpvcvkxg!                               Patriarch Partners XV, LLC            Vgngrjqpg!Pq/!
                                                         One Broadway, 5th Floor
Ecrcekv{!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!aaaaaaaaaaaaaaaaaaaaaa!
                                                         New York, NY 10004
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
!
!                                                                                              !
zaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa! zaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
Ukipcvwtg!qh!Rgvkvkqpgt!qt!Tgrtgugpvcvkxg!)Uvcvg!vkvng*!                                       Ukipcvwtg!qh!Cvvqtpg{!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!Fcvg!
!                                                                                              !
Pcog!qh!Rgvkvkqpgt!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!Fcvg!Ukipgf!              Pcog!qh!Cvvqtpg{!Hkto!)Kh!cp{*!
!                                                                                              aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
Pcog!'!Ocknkpi!                                                                                Cfftguu!
Cfftguu!qh!Kpfkxkfwcn!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!aaaaaaaaaaaaaaaaaaaaaa!                  !
Ukipkpi!kp!Tgrtgugpvcvkxg!                                                                     Vgngrjqpg!Pq/!
Ecrcekv{!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!aaaaaaaaaaaaaaaaaaaaaa!!!!!!!!!!!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
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!                                                                                              !
zaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa! zaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
Ukipcvwtg!qh!Rgvkvkqpgt!qt!Tgrtgugpvcvkxg!)Uvcvg!vkvng*!                                       Ukipcvwtg!qh!Cvvqtpg{!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!Fcvg!
!                                                                                              !
Pcog!qh!Rgvkvkqpgt!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!Fcvg!Ukipgf!              Pcog!qh!Cvvqtpg{!Hkto!)Kh!cp{*!
!                                                                                              aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
Pcog!'!Ocknkpi!                                                                                Cfftguu!
Cfftguu!qh!Kpfkxkfwcn!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!aaaaaaaaaaaaaaaaaaaaaa!                  !
Ukipkpi!kp!Tgrtgugpvcvkxg!                                                                     Vgngrjqpg!Pq/
Ecrcekv{!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!aaaaaaaaaaaaaaaaaaaaaa!!!!!!!!!!!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
!
                                                                           PETITIONING CREDITORS!
Pcog!cpf!Cfftguu!qh!Rgvkvkqpgt!                                                                Pcvwtg!qh!Encko!                          Coqwpv!qh!Encko!
Patriarch
!              Partners XV, LLC
One
!       Broadway, 5th Floor, New York, NY 10004                                                Notes                                      $286,446,141.49
Pcog!cpf!Cfftguu!qh!Rgvkvkqpgt!                                                                Pcvwtg!qh!Encko!                          Coqwpv!qh!Encko!
!
!
Pcog!cpf!Cfftguu!qh!Rgvkvkqpgt!                                                                Pcvwtg!qh!Encko!                          Coqwpv!qh!Encko!
!
!
Pqvg<!!!!!!!!!Kh!vjgtg!ctg!oqtg!vjcp!vjtgg!rgvkvkqpgtu-!cvvcej!cffkvkqpcn!ujggvu!ykvj!vjg!uvcvgogpv!wpfgt!!                              Vqvcn!Coqwpv!qh!Rgvkvkqpgtu!
!!!!!!!!!!!!!!!!!!rgpcnv{!qh!rgtlwt{-!gcej!rgvkvkqpgtu!ukipcvwtg!wpfgt!vjg!uvcvgogpv!cpf!vjg!pcog!qh!cvvqtpg{!!                         Enckou! $286,446,141.49
!!!!!!!!!!!!!!!!!!cpf!rgvkvkqpkpi!etgfkvqt!kphqtocvkqp!kp!vjg!hqtocv!cdqxg/!
                                                                         0
                                                                       aaaaaaeqpvkpwcvkqp!ujggvu!cvvcejgf!
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                   UNITED STATES BANKRUPTCY COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK
!                                 !  !
                                  <!
In re                             <! Chapter 11
                                  <!
ZOHAR CDO 2003-1, LIMITED,        <! Case No. 15-[_______] (RDD)
                                  <!
         Debtor.                  <!
                                  <!
!                                 <! !
!                                 !  !

                      CORPORATE OWNERSHIP STATEMENT OF
                          PATRIARCH PARTNERS XV, LLC

               Kp!ceeqtfcpeg!ykvj!Twng!2121)d*!qh!vjg!Hgfgtcn!Twngu!qh!Dcpmtwrve{!Rtqegfwtg!
&]QN d7JWT[^Y]Lb C^UN\e'( `QRLQ RWLX[YX[J]N\ ]QN MR\LUX\^[N [NZ^R[NM ^WMN[ C^UN 2++2*, XO ]QN
Dcpmtwrve{!Twngu-!BJ][RJ[LQ BJ[]WN[\ HG( ??8 &]QN dBN]R]RXWRWP 8[NMR]X[e'( QN[NKb \]J]N\ ]QJ]
IXQJ[ =XUMRWP\ ??8 R\ ]QN \XUN VNVKN[ XO ]QN BN]R]RXWRWP 8[NMR]X[ &]QN dDXUN @NVKN[e' JWM WX
eqtrqtcvkqp!fktgevn{!qt!kpfktgevn{!qypu!21&!qt!oqtg!qh!vjg!Uqng!Ogodgt!cu!qh!vjg!fcvg!jgtgqh/!

                  Kp!ceeqtfcpeg!ykvj!39!W/U/E/!©!2857-!vjg!wpfgtukipgf!jgtgd{!fgenctgu!wpfgt!
rgpcnv{!qh!rgtlwt{!wpfgt!vjg!ncyu!qh!vjg!Wpkvgf!Uvcvgu!vjcv!vjg{!jcxg!tgxkgygf!vjg!hqtgiqkpi!cpf!
vjcv!kv!ku!vtwg!cpf!eqttgev!vq!vjg!dguv!qh!vjgkt!kphqtocvkqp!cpf!dgnkgh/!!

Fcvgf<! Pqxgodgt!33-!3126!
                                      RCVTKCTEJ!RCTVPGTU!ZX-!NNE!
                                      !
                                      D{<! ! /s/ Lynn Tilton    !
                                      Pcog<!N{pp!Vknvqp!
                                      Vkvng<!!!Ocpcigt!
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                                         !
                     RULE 1003 STATEMENT REGARDING CLAIMS
                               OF PATRIARCH XV, LLC


               Vjg!wpfgtukipgf!jgtgd{!uvcvgu!vjcv!Rcvtkctej!Rctvpgtu!ZX-!NNE!)vjg!dRgvkvkqpkpi!

Etgfkvqte*!jqnfu!enckou!vqvcnkpi!%397-557-252/5;!cickpuv!vjg!eqorcp{!pcogf!kp!vjg!cvvcejgf!

kpxqnwpvct{!rgvkvkqp!)vjg!dFgdvqte*!ctkukpi!qwv!qh!encuu!C.4!hnqcvkpi!tcvg!pqvgu!ykvj!cp!qtkikpcn!

rtkpekrcn!hceg!coqwpv!qh!%461-111-111/!Uwej!enckou!ygtg!ceswktgf!qp!Octej!37-!3126!hqt!vjg!

crrtqzkocvg!eqpukfgtcvkqp!qh!%214-;2;-974/45!cu!tghngevgf!kp!vjg!cvvcejgf!fqewogpvu/!Uwej!

enckou!ctg!dcugf!wrqp!rtkpekrcn!qpn{!cpf!ctg!gzenwukxg!qh!kpvgtguv-!hggu-!equvu!cpf!qvjgt!ejctigu/!

Vjg!Rgvkvkqpkpi!Etgfkvqt!ceswktgf!kvu!enckou!qp!vjg!qrgp!octmgv!hqt!kpxguvogpv!rwtrqugu!cpf!pqv!

hqt!vjg!rwtrqug!qh!eqoogpekpi!c!dcpmtwrve{!ecug!cickpuv!vjg!Fgdvqt/!

!

Fcvgf<! Pqxgodgt!33-!3126!
                                       RCVTKCTEJ!RCTVPGTU!ZX-!NNE!
                                       !
                                       D{<! ! /s/ Lynn Tilton    !
                                       Pcog<!N{pp!Vknvqp!
                                       Vkvng<!!!Ocpcigt!
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